          Exhibit 13




Case 5:20-hc-02088-FL Document 1-14 Filed 05/26/20 Page 1 of 4
                                   Declaration of Randy Flores Ortiz

        1.        My name is Randy Flores Ortiz. I am currently incarcerated at the FMC

 Butner at FCC Butner, housed in Unit 4A. My Bureau of Prisons Register Number is

 55653-177.

       2.         I am 36 years old.

       3.         I am currently serving a 327-month sentence for possession with intent to

distribute methamphetamine. My expected release date is 2040. I have no convictions for

violent crimes.

       4.         I was diagnosed Non-Hodgkin’s lymphoma in 2018, when I was already

incarcerated. I have been treated with chemotherapy and am currently undergoing

radiation therapy. It is my understanding that I am immunecompromised because of my

treatment.

       5.         I have type II diabetes. I take metformin for my diabetes.

       6.         I am housed in a cell with a cellmate who is also undergoing cancer

treatment. Everyone on my floor has cancer. There are about 240 people housed on my

floor. Most cells have two people in them.

       7.         People who are being brought into FCC Butner are being housed on my

floor while they are quarantined because they are being brought to the facility. This has

been true since early April. On my side of the unit, which is 32 cells, there are currently

two people in quarantine.

       8.         My cell is about 8’ x 10’. In my cell, I can’t maintain a 6’ distance from

my cellmate. We have a toilet, sink and shower in the cell.

       9.         Meals and medications are brought to my cell. I believed the same people

who bring me my food and medication bring them to the cells where people are

quarantined and to the rest of the housing unit.
      Case 5:20-hc-02088-FL Document          1 1-14 Filed 05/26/20 Page 2 of 4
        10.      On May 20, we were informed that the lockdown of BOP would last at

least until the end of June.

        11.      I go out of my cell for radiation and oncology appointments. Next week I

will start going Monday through Friday. When I go to an appointment, I use an elevator

that is also used by other prisoners. On one occasion, I rode the elevator with a man who

later tested positive for COVID-19.

        12.      I am allowed out of my cell to make phone calls approximately two times a

week.

        13.      The people on the 5th floor are very sick and some are in hospice. The

people on the 3rd floor are there for ambulatory surgeries. Those floors are the same size

and set-up.

        14.      I have not been tested for COVID-19 and I do not know of other people in

my housing unit being tested.

         15.     I have a safe, secure and verifiable place to live if released. I can

 live at my home in San Angelo, Texas with my mother. I would be able to self-

 isolate in the house 14 days and I would have access to medical care if I needed it. I would

 not require any additional services or programs (such as substance abuse counseling or

 mental healthtreatment) if I were released to home confinement.


         I, Maria Morris, certify that I reviewed the information contained in this

 declaration with Mr. O r t i z by telephone on M a y 2 1 , 2020, and that he certified

 //

//

//

//

//                                   2 1-14 Filed 05/26/20 Page 3 of 4
        Case 5:20-hc-02088-FL Document
under penalty of perjury that the information contained in this declaration was true and

correct to the best of his knowledge.

/s/ Maria V. Morris
Maria Morris
American Civil Liberties Union
915 15th St., 7th Floor
W a s h i n gt o n , D C
202.548.6607
mmorris@aclu.org




                                  3 1-14 Filed 05/26/20 Page 4 of 4
     Case 5:20-hc-02088-FL Document
